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     ARNOLD & PORTER KAYE SCHOLER LLP
1    SHARON D. MAYO (SBN 150469)
2    sharon.mayo@arnoldporter.com
     Three Embarcadero Center, 10th Floor
3    San Francisco, CA 94111
     Telephone: 415.471.3100
4    Facsimile: 415.471.3400
5
     GREENSFELDER, HEMKER & GALE, P.C.
6    David J. Simmons (Mo. Bar No. 53801) (pro hac vice pending)
     Ronnie L. White (Mo. Bar No. 67165) (pro hac vice pending)
7    10 South Broadway, Ste. 2000
     St. Louis, MO 63102
8    Telephone: (314) 241-9090
9    Facsimile: (314) 345-5465
     ds@greensfelder.com
10   rwhite@greensfelder.com

11   Attorneys for Plaintiff
     BP Products North America Inc.
12
13                                UNITED STATES DISTRICT COURT

14                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

15   BP PRODUCTS NORTH AMERICA INC., a                Case No.: _____________
     Maryland corporation and successor-in-interest
16   to BP WEST COAST PRODUCTS LLC,
17                                                    DEFENDANT BP PRODUCTS NORTH
            Plaintiff,                                AMERICA INC.’S CERTIFICATION OF
18                                                    INTERESTED ENTITIES OR PERSONS
                                                      (LOCAL RULE 3-15) AND CORPORATE
            v.                                        DISCLOSURE STATEMENT (FRCP 7.1)
19
     GRAND PETROLEUM, INC., a California
20   Corporation, AMIN SALKHI, an individual,
21   BANAFSHEH S. SALKHI, an individual,
     ALI SALKHI, an individual,
22   SOURI SALKHI, an individual, and
     AJANG SALKHI, an individual.
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            Defendants.
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     Certification of Interested Entities       1
           Case 4:20-cv-00901-YGR Document 3 Filed 02/06/20 Page 2 of 3




1           Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and Civil L.R. 3-15, the
2    undersigned certifies that, to the best of her knowledge, the following listed entities are the Plaintiff,
3    the Parent, and the indirect Parents of the Plaintiff and (i) have a financial interest in the subject
4    matter in controversy or in a party to the proceeding, or (ii) have a non-financial interest in that
5    subject matter or in a party that could be substantially affected by the outcome of this proceeding:
6
        BP Products North America Inc. – Successor in interest of BP West Coast Products LLC
7
        The Standard Oil Company (Parent)
8
        BP Company North America Inc.
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        BP Corporation North America Inc.
10
        BP America Inc.
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        BP America Limited
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        BP Holdings North America Limited
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        BP p.l.c.
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     Certification of Interested Entities          2
          Case 4:20-cv-00901-YGR Document 3 Filed 02/06/20 Page 3 of 3



     DATED: February 6, 2020           Respectfully submitted:
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                                       ARNOLD & PORTER KAYE SCHOLER LLP
3                                      SHARON D. MAYO (SBN 150469)
                                       sharon.mayo@arnoldporter.com
4                                      Three Embarcadero Center, 10th Floor
                                       San Francisco, CA 94111
5
                                       Telephone: 415.471.3100
6                                      Facsimile: 415.471.3400

7                                      GREENSFELDER, HEMKER & GALE, P.C.
                                       David J. Simmons (Mo. Bar No. 53801) (pro hac vice pending)
8                                      Ronnie L. White (Mo. Bar No. 67165) (pro hac vice pending)
9                                      10 South Broadway, Ste. 2000
                                       St. Louis, MO 63102
10                                     Telephone: (314) 241-9090
                                       Facsimile: (314) 345-5465
11                                     ds@greensfelder.com
                                       rwhite@greensfelder.com
12
13
                                      By:    /s/ Sharon D. Mayo
14                                          Attorneys for BP Products North America Inc.

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     Certification of Interested Entities    3
